                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION - FLINT


  In Re:
                                                           Case No.: 17-32807
Boyt Woodson Johnson, Jr.                                  Chapter 7
                                                           Hon. Joel D. Applebaum
                       Debtor.
                                              /

  ORDER ADJOURNING HEARING REG ARDI NG DEBTO R’ S O BJECTI O N TO
                 THE CLAIM OF FIRST INDEPENDENCE BANK

       This matter having come before this Court on the Stipulation to Entry of Adjournment of

hearing for Debtor’s Objection to the claim of First Independence Bank; and the Court being

fully advised in the premises;


       IT IS HEREBY ORDERED that the hearing for Debtor’s Objection to Claim of First
Independence Bank shall be adjourned from August 21, 2019 to September 25, 2019 at 1:30
p.m.

Signed on August 20, 2019




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